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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


   Mahmoud KHALIL,

                      Petitioner,

   v.                                                      Case No. 2:25-cv-01963

   Donald J. TRUMP, in his official capacity as            Hon. Michael E. Farbiarz
   President of the United States; William P. JOYCE,
   in his official capacity as Acting Field Office
   Director of New York, Immigration and Customs
   Enforcement; Caleb VITELLO, Acting Director,
   U.S. Immigration and Customs Enforcement; Kristi
   NOEM, in her official capacity as Secretary of the
   United States Department of Homeland Security;
   Marco RUBIO, in his official capacity as Secretary
   of State; and Pamela BONDI, in her official capacity
   as Attorney General, U.S. Department of Justice,

                      Respondents.


              BRIEF IN SUPPORT OF MOTION FOR LEAVE TO FILE
                   BRIEF AS AMICI CURIAE IN SUPPORT OF
            PETITIONER’S MOTION FOR PRELIMINARY INJUNCTION

        The Foundation for Individual Rights and Expression (FIRE), The Rutherford

  Institute, the First Amendment Lawyers Association (FALA), the National Coalition

  Against Censorship (NCAC), and PEN American Center, Inc. (collectively “proposed

  amici”) respectfully move for leave to file the accompanying amici curiae brief in

  support of Petitioner Mahmoud Khalil. Petitioner consents to the filing of this amicus

  brief. On March 18, 2025, Counsel for Respondents informed proposed amici that

  Respondents take no position. Proposed amici state the following in support of this

  motion:



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        1.       Courts should grant a motion for leave to file an amicus brief when

  (1) the movant has an “adequate interest” and (2) the accompanying brief is

  “desirable” and “relevant to the disposition of the case.” Neonatology Assocs., P.A. v.

  C.I.R., 293 F.3d 128, 131 (3d Cir. 2002) (citing Federal Rule of Appellate Procedure

  29(a)). These requirements should be “broadly interpreted” to allow leave to file

  amicus briefs unless “it is obvious” that the requirements are not met. Id. at 133. It

  is “preferable to err on the side of granting leave.” Id. District courts in New Jersey

  follow these guidelines in granting leave to file amicus briefs. See, e.g., C.P. v. New

  Jersey Dep’t of Educ., 2019 WL 6907490, at *3 (D.N.J. Dec. 19, 2019) (granting motion

  for leave to file amicus brief); United States v. Alkaabi, 223 F. Supp. 2d 583, 592

  (D.N.J. 2002) (same).

        2.       Here, proposed amici have an adequate interest to file a brief because

  they are organizations that are deeply concerned by the government’s claim of

  authority to subject resident aliens to adverse action for the protected speech and

  have extensive experience with relevant First Amendment issues, as explained more

  fully below.

        3.       Proposed amicus FIRE has a strong interest in the outcome of this case.

  FIRE is a nonpartisan nonprofit that defends the rights of all Americans to free

  speech and free thought—the essential qualities of liberty. Since 1999, FIRE has

  successfully defended these rights through public advocacy, strategic litigation, and

  participation as amicus curiae in cases that implicate First Amendment freedoms. In

  lawsuits across the United States, FIRE works to vindicate First Amendment rights




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  without regard to the speakers’ views. Trump v. Selzer, No. 4:24-cv-449 (S.D. Iowa,

  filed Dec. 17, 2024); Volokh v. James, No. 23-356 (2d Cir. argued Feb. 16, 2024); Novoa

  v. Diaz, No. 4:22-cv-324, ECF No. 44 (N.D. Fla., Nov. 17, 2022), pending appeal sub

  nom., Novoa v. Diaz, No. 22-13994 (11th Cir. argued June 14, 2024); Netchoice, LLC

  v. Bonta, 2025 WL 807961 (N.D. Cal. Mar. 13, 2025)); Villarreal v. Alaniz, 145 S. Ct.

  368 (2024).

        4.      Proposed amicus The Rutherford Institute similarly has a strong

  interest in the outcome of this case. The Rutherford Institute is a nonprofit civil

  liberties organization headquartered in Charlottesville, Virginia. Founded in 1982 by

  its President, John W. Whitehead, the Institute provides legal assistance at no charge

  to individuals whose constitutional rights have been threatened or violated and

  educates the public about constitutional and human rights issues affecting their

  freedoms. The Rutherford Institute works tirelessly to resist tyranny and threats to

  freedom by seeking to ensure that the government abides by the rule of law and is

  held accountable when it infringes on the rights guaranteed by the Constitution and

  laws of the United States.

        5.      Proposed amicus First Amendment Lawyers Association (FALA) also

  has a strong interest in the outcome of this case. FALA is a nonpartisan, nonprofit

  bar association comprised of attorneys throughout the United States and elsewhere

  whose practices emphasize defense of Freedom of Speech and of the Press, and which

  advocates against all forms of government censorship. Formed in the mid-1960s,

  FALA’s members practice throughout the U.S. in defense of the free speech. Since its




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  founding, its members have been involved in many of the nation’s landmark free

  expression cases, including cases before the Supreme Court. See, e.g., Ashcroft v. Free

  Speech Coalition, Inc., 535 U.S. 234 (2002) (successful challenge to Child

  Pornography Prevention Act argued by FALA member and former president H. Louis

  Sirkin); United States v. Playboy Ent. Group, Inc., 529 U.S. 803 (2000) (successful

  challenge to “signal bleed” portion of Telecommunications Act argued by FALA

  member and former president Robert Corn-Revere). In addition, FALA has a

  tradition of submitting amicus briefs to the Supreme Court on issues pertaining to

  the First Amendment. See, e.g., City of Littleton v. Z.J. Gifts D-4, LLC, 2004 WL

  199239 (Jan. 26, 2004) (amicus brief submitted by FALA); United States v. 12,200-ft

  Reels of Super 8mm Film, 409 U.S. 909 (1972) (order granting FALA’s motion to

  submit amicus brief).

        6.     Proposed amicus the National Coalition Against Censorship (NCAC)

  similarly has a strong interest in the outcome of this case. NCAC is an alliance of

  more than 60 national non-profit literary, artistic, religious, educational,

  professional, labor, and civil liberties groups. NCAC was founded in 1974 in response

  to the United States Supreme Court’s landmark decision in Miller v. California, 413

  U.S. 15 (1973), which narrowed First Amendment protections for sexual expression

  and opened the door to obscenity prosecutions. The organization’s purpose is to

  promote freedom of thought, inquiry and expression and to oppose censorship in all

  its forms. NCAC engages in direct advocacy and education to support free expression

  rights of students, teachers, librarians, artists, and others. NCAC has long opposed




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  attempts to censor or limit youth free expression on college campuses, and tracks

  efforts to suppress artistic and cultural expression related to political conflict in Israel

  and Palestine. See, e.g., Art Censorship Index: Israel and Palestine 2023-Onwards,

  NAT’L COAL. AGAINST CENSORSHIP, https://ncac.org/art-censorship-index-

  israel-palestine-2023-onwards. It therefore has a longstanding interest in assuring

  the continuance of robust First Amendment protections for all, including students

  and noncitizens.

         7.     Proposed amicus PEN American Center, Inc. (“PEN America”) similarly

  has a strong interest in the outcome of this case. PEN America is a nonpartisan

  nonprofit organization dedicated to creative expression and the liberties that make it

  possible. Founded in 1922, PEN America engages in advocacy, research, and public

  programming related to free expression in the United States and around the world.

  PEN America stands for the unhampered transmission of thought within each nation

  and between all nations, working to ensure that people everywhere have the freedom

  to create literature, to convey information and ideas, express their views, and access

  the views, ideas, and literature of others. PEN America has engaged in research and

  advocacy related to protest rights and the free speech rights of immigrants.

         8.     The proposed brief is desirable because it provides the Court with an

  understanding of the effect the issues presented in this case will have beyond the

  outcome for the parties. Proposed amici have extensive experience defending First

  Amendment rights to freedom of speech and expression, and their brief provides the




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  Court with an informed perspective and information beyond what the parties will

  offer.

           9.    No counsel for a party authored the accompanying amici curiae brief in

  whole or in part. Further, no person, other than amicus, their members, or their

  counsel contributed money intended to fund this brief’s preparation or submission.

           WHEREFORE, proposed amici respectfully requests that this Court grant its

  Motion for Leave to File its Amici Curiae Brief in Support of Petitioner’s Motion for

  Preliminary Injunction.


  Dated: March 20, 2025                      Respectfully Submitted,

                                             /s/ Greg H. Greubel
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